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 1
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 4
      Attorney for Defendant, PATRICIA SERBERA ROBLEDO
 5

 6
                                            UNITED STATES DISTRICT COURT
 7
                                            EASTERN DISTRICT OF CALIFORNIA
 8

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                                                        )
     UNITED STATES OF AMERICA,                          ) CASE NO. 1:10-CR-00467 LJO
11                                                      )
              Plaintiff,                                ) STIPULATION AND PROPOSED
12                                                      ) ORDER TO CONTINUE STATUS
     vs.                                                ) CONFERENCE
                                                        )
13
     PATRICIA SERBERA ROBLEDO,                          )
                                                        ) DATE: APRIL 1, 2011
14                                                      ) TIME:  9:00 am
              Defendant.
                                                        ) JUDGE: Hon. Lawrence J. O’Neill
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              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel RICHARD A. BESHWATE, JR, attorney for Defendant, and KIRK SHERRIFF,
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     Assistant U.S. Attorney for Plaintiff, that the status conference currently scheduled for April 1, 2011,
19
     at 9:00 a.m. shall be continued until APRIL 29, 2011, at 9:00 a.m.
20
              This request for continuance is made by counsel for defendant to allow additional time for defense
21
     preparation prior to hearing and to ensure continuity of counsel. Defendant’s attorney, Richard A. Beshwate,
22
     Jr., is currently in trial at the Fresno County Superior Court (People v Ernest Williams) and will not be
23
     available for the April 1st hearing. Additionally, defendant’s attorney will not have sufficient opportunity to
24
     consult with defendant prior to the April 1st hearing date. Assistant United States Attorney Kirk Sherriff has
     no objection to this requested continuance. The requested continuance will conserve time and resources for
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     both counsel and the court.

 1              The defendant and the government agree that any delay resulting from the continuance shall be

 2   excluded in the interest of justice pursuant to 18 U.S.C. § 3161(h)(7)(A) and § 3161(h)(7)(B)(I) & (iv), and

 3   that the defendant’s need for a continuance outweighs the interests of the public and the defendant in a

 4   speedy trial.

 5   DATED: March 29, 2011
                                                          Respectfully submitted,
 6
                                                          /S/ Richard A. Beshwate, Jr.____________
 7                                                        RICHARD A. BESHWATE, JR.
                                                          Attorney for Defendant,
 8                                                        PATRICIA SERBERA ROBLEDO

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10
     DATED: March 29, 2011
11
                                                          Respectfully submitted,
12
                                                          /S/ Kirk Sherriff
13                                                        KIRK SHERRIFF
                                                          Assistant U.S. Attorney
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15   .
     .
16                                                         ORDER

17              The status conference in this case be continued to April 29,

18       2011, at 9:00 a.m. Based on the grounds set forth in the parties’ stipulation, time is excluded in the interest

19   of justice pursuant to 18 U.S.C. § 3161(h)(7)(A) and § 3161(h)(7)(B)(I) & (iv), and that the defendant’s need

20   for a continuance outweighs the interests of the public and the defendant in a speedy trial. Good cause

21   exists due to the trial conflict.

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     IT IS SO ORDERED.
24
     Dated:      March 29, 2011                                   /s/ Lawrence J. O'Neill
     b9ed48                                                   UNITED STATES DISTRICT JUDGE
